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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

CHARTER COMMUNICATIONS HOLDING
COMPANY, LLC, a Delaware limited liability
company; and CHARTER
COMMUNICATIONS OPERATING, LLC, a
Delaware limited liability company,                                   CASE NO. _________________

                   Plaintiffs,
          vs.                                                         DEMAND FOR JURY TRIAL

KNOWTEQ SOLUTIONS LLC, a Texas
limited liability company; NATOSHIA
ELLZEY, an individual; and JOHN DOES 1-5,

                   Defendants.


                                                   COMPLAINT

            Plaintiffs Charter Communications Holding Company, LLC (“CCH”) and Charter

 Communications Operating, LLC (“CCO”) (collectively, “Charter” or “Spectrum”) state as

 follows for their Complaint for Fraud, Civil Conspiracy, Federal Trademark Infringement,

 Federal Unfair Competition, Common Law Unfair Competition, and Unjust Enrichment against

 Knowteq Solutions LLC (“Knowteq Solutions”), Defendant Natoshia Ellzey (“Ellzey”)

 (collectively “Defendants”1), and Defendants John Does 1-5.

                                          NATURE OF THE ACTION

            1.       Charter is one of the country’s largest communications providers, and is widely

 recognized by consumers as a reliable and reputable provider of communications services.

            2.       According to the FBI, malicious cyber activity is a threat to public safety and

 national and economic security. Impersonation of legitimate businesses in an effort to obtain



 1
     “Defendants” also includes any authorized representatives of Knowteq Solutions.
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sensitive financial and personal information from consumers is a rapidly growing, serious cyber

problem in the United States, impacting all sectors of businesses, including the communications

sector.

          3.   Defendants, without authorization, impersonate Charter, defrauding Charter

subscribers by stealing sensitive financial and other information.

          4.   Defendants likewise defraud Charter directly by impersonating subscribers of

Charter, without authorization, and providing Charter with fraudulent payment information.

          5.   Defendants initiate their fraudulent scheme by sending unauthorized and

unsolicited text messages to subscribers of the CHARTER SPECTRUM and SPECTRUM

brands of communication services. These text messages falsely hold Knowteq Solutions out as

an authorized agent of Spectrum (which is Charter’s brand name), or even as Spectrum itself,

and promise a discount on a subscriber’s monthly Spectrum bill if he or she makes a payment

through Knowteq Solutions. When a subscriber responds, Defendants steal the subscriber’s

credit card or banking information and make a payment directly to themselves. Defendants then

contact Charter, posing as the Charter subscriber, and use invalid payment information to make a

false “payment” to Charter. That payment is later reversed, leaving the subscriber’s monthly bill

unpaid.

          6.   Defendants perpetuate their fraud by intentionally utilizing the CHARTER,

CHARTER SPECTRUM, and SPECTRUM family of marks in both text messages and telephone

conversations with Charter subscribers.

          7.   Charter brings this action to hold Defendants accountable for their actions and to

protect the public from the ongoing threat posed by Defendants’ fraudulent scheme.

          8.   This is an action for (i) fraud under Texas common law; (ii) civil conspiracy




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under Texas common law; (iii) infringement of registered trademark(s) in violation of Section

32(1) of the Lanham Act, 15 U.S.C. § 1114; (iv) false designation of origin and trademark

infringement in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a); (v) common

law unfair competition; and (vi) common law unjust enrichment.

                                         THE PARTIES

       9.      Plaintiff Charter Communications Holding Company, LLC is a Delaware limited

liability company with its principal place of business at 12405 Powerscourt Drive in St. Louis

County, Missouri.

       10.     Plaintiff Charter Communications Operating, LLC is a Delaware limited liability

company with its principal place of business at 12405 Powerscourt Drive in St. Louis County,

Missouri.

       11.     Defendant Knowteq Solutions LLC is a Texas limited liability company with a

registered address of 10122 Churchill Oaks Lane, Houston, Texas 77044.

       12.     Defendant Natoshia Ellzey is an individual residing in the State of Texas with a

residence at 24323 Veratti Lane, Katy, Texas 77493. Ellezy is the sole member and manager of

Knowteq Solutions.

       13.     Defendants designated herein as John Does 1-5 are the individuals and/or entities

who instructed, coached, and/or counseled Defendants on setting up, and participating in, the

fraudulent scheme as described herein. The identity of John Does 1-5 is presently unknown to

Charter. Charter will amend the Complaint to name the unidentified individuals and/or entities

once it has learned their names through discovery.

                                JURISDICTION AND VENUE

       14.     This Court has jurisdiction over this action pursuant to: (i) 28 U.S.C. §§ 1331,




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1338(a) and (b), 15 U.S.C. § 1121, as an action for violation of the Lanham Act, 15 U.S.C. §§

1051 et seq.; and (ii) 28 U.S.C. § 1367(a), pursuant to the principles of supplemental jurisdiction.

        15.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) in that the

Defendants reside in this judicial district.

        16.      Venue is also proper in this district pursuant to 28 U.S.C. § 1391(b) in that a

substantial part of the events or omissions giving rise to the claims herein occurred in this

judicial district.

        17.      Specifically, Defendants operate their fraudulent scheme from Texas, have

purposefully targeted subscribers of Charter’s Spectrum-branded services (“Charter

subscribers”), including those residing in Texas, sent fraudulent solicitations (text messages) to

Charter subscribers residing in Texas, and interacted with Charter subscribers in Texas through

phone calls and text messages.

                            FACTS GIVING RISE TO THIS ACTION

      ELLZEY FORMS KNOWTEQ SOLUTIONS FOR FRAUDULENT PURPOSES

        18.      On or about March 1, 2021, Defendant Knowteq Solutions, through authorized

representative Natoshia Ellzey, filed a Certificate of Formation with the Office of the Secretary

of State of Texas. See Exhibit A, Certified Copy of Certificate of Formation.

        19.      The effective date of the filing is listed as March 1, 2021. See Exhibit A.

        20.      The Certificate of Formation states the alleged business purpose of Knowteq

Solutions is “for the transaction of any and all lawful business for which limited liability

companies may be organized under the Texas Business Organizations Code.” See Exhibit A.

        21.      This is not the business purpose of Knowteq Solutions. Rather, Knowteq

Solutions was formed to commit fraud and engage in unfair competition, conspire to engage in




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fraud and unfair competition, and commit other unlawful activities as detailed throughout this

Complaint.

       22.     Ellzey is the sole member of Knowteq Solutions and the registered agent of

Knowteq Solutions. See Exhibit A

       23.     Ellzey is the sole manager of Knowteq Solutions and on information and belief,

has complete control of Knowteq Solutions’ actions.

       24.     Ellzey is aware of the fraudulent activities of Knowteq Solutions, directs that

conduct, and personally benefits from the fraudulent conduct.

       25.     On information and belief, Knowteq Solutions is not adequately capitalized and

does not observe necessary corporate formalities.

       26.     Earlier this year, Ellzey and Knowteq Solutions shared the same address of 10122

Churchill Oaks Lane, Houston, Texas 77044. 10122 Churchill Oaks Lane, Houston, Texas

77044 is a residential address. Ellzey has registered a motor vehicle she personally owns at this

address as well as another limited liability company called IT Arena LLC.

               DEFENDANTS’ FALSE REPRESENTATIONS AND FRAUD

       27.     Soon after Ellzey formed Knowteq Solutions, and at least as early as April 29,

2021, Defendants began sending text messages to Charter subscribers using the CHARTER,

CHARTER SPECTRUM, and SPECTRUM family of marks, falsely stating Charter subscribers

could receive a discount on their Spectrum bills if paid through Knowteq Solutions.

       28.     Defendants’ fraudulent business scheme, which began on or about April 29, 2021,

is carried out against Charter and Charter subscribers as follows:

                a.    Defendants send a text message offering Charter subscribers a discount on

their Spectrum bill if they use Knowteq Solutions to facilitate the payment – that text message




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contains the infringing use of Charter’s trademarks;

                b.     A subscriber responds to the text message link by phone or a responsive

text message with the assumption he is communicating with Charter or an authorized vendor for

Charter;

                c.     The subscriber provides Defendants with information, including name,

Spectrum account information (service address, account number, security code) and financial

information;

                d.     Using the subscriber’s fraudulently obtained Charter account details and

other information, Defendants call Spectrum impersonating the subscriber and make a payment

on the account using a stolen credit card or invalid checking account;

                e.     Defendants are provided with a payment confirmation number;

                f.     Defendants send the payment confirmation number and payment amount

to the subscriber via text message;

                g.     Defendants then initiate a payment to Knowteq Solutions from the Charter

subscriber’s own bank account (or credit card) for the agreed discounted amount;

                h.     The payment made by Defendants to the subscriber’s Spectrum account is

ultimately rejected by the financial institution (e.g., for invalid checking account or stolen/closed

credit card); and

                i.     The subscriber’s Spectrum account consequently shows a payment

reversal, and the account remains unpaid.

       29.     Defendants’ fraudulent business scheme is exemplified by the following text

message sent by Defendants to a Charter subscriber, whom Defendants carried out their

fraudulent business scheme against, as detailed above.




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       30.    For example, on or about April 29, 2021, Defendants sent a text to a Charter

subscriber falsely stating, among other things, that “KNOWTEQ SOLUTION” is an “Authorized

Retailer” and purporting to accept payment and provide a confirmation number for said payment.




       31.    In and around the same time as the foregoing text message was sent, on May 8,

2021, Charter learned that Defendants were perpetrating their fraudulent business scheme on

Charter and Charter subscribers.



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       32.      This exemplar text is just one of many believed to have been sent by Defendants

to Charter subscribers.

       33.      On or about June 1, 2021, a Charter representative attempted to contact

Defendants a phone number associated with Knowteq Solutions: (713) 309-9759. The call was

answered by a person who identified herself as Natoshia Ellzey. She was asked about her

association with Knowteq Solutions and its relationship with Charter. She stated she was the

owner of Knowteq Solutions and was a Spectrum authorized vendor and her company was being

used to facilitate customer payments. These statements are FALSE. On this call, Charter’s

representative stated that Defendants’ conduct was not authorized by Charter. In response,

Ellzey disconnected the call, and Charter’s return calls to the same phone number went

unanswered.

       34.      Defendants’ conduct is ongoing and continues to date, and Charter and Charter

subscribers continue to be victimized by Defendants’ scheme, which improperly capitalizes on

the CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks and good will.

       35.      Defendants, through their agents, employees and other representatives,

represented and continue to represent that they are associated with Charter or its Spectrum brand,

which is FALSE, and Defendants are aware the representation is false.

       36.      Defendants make these false representations with the intent to mislead Charter

subscribers into taking an action based on the misrepresentations. Charter subscribers

reasonably relied on the false representations, were misled, and in reliance on the

misrepresentations, took the action intended and provided the financial, account, and other

information requested by Defendants. As a result of Defendants’ actions, Charter subscribers

were injured.




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        37.     Defendants, through their agents, employees and other representatives, also

represented and continue to represent to Charter that they are Charter subscribers making a valid

payment due on the subscribers’ accounts, which is FALSE, and Defendants are aware the

representation is false.

        38.     Defendants further made these false representations with the intent to mislead

Charter into taking an action. Charter reasonably relied on the false representations that

Defendants were the Charter subscribers Defendants were impersonating, and further relied on

Defendants’ payment methods provided to Charter as valid and authorized. As a result, Charter

took the action Defendants intended, and was injured. Defendants misappropriated payments for

Charter’s services that rightfully belong to Charter and have misappropriated and infringed upon

Charter’s intellectual property.

        39.     Defendants’ wrongful actions directed towards Charter and Charter subscribers

were and are willful and wanton and taken in direct disregard of Charter’s rights and

responsibilities, and have caused and continue to cause harm to Charter.

                              CONCERTED UNLAWFUL ACTIVITIES

        40.     Smishing is a form of cyber fraud in which a criminal, pretending to be a

legitimate entity, sends a text message to a victim.

        41.     Defendants did not come up with the fraudulent and infringing scheme set forth in

this Complaint in a vacuum.

        42.     In fact, Charter subscribers have notified Charter of nearly identical fraudulent

and infringing schemes perpetuated by other individuals and companies operating in a manner

similar to Defendants.

        43.     Defendants worked in concert with one or more John Does to learn how to set up




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the fraudulent and infringing scheme Defendants have perpetuated and continue to perpetuate on

Charter and Charter subscribers, as described herein.

       44.     On information and belief, this/these John Doe(s), in and around the time

Knowteq Solutions was formed in March of 2021, instructed Defendants as to how to structure

Knowteq Solutions to exist for purpose of a criminal enterprise and taught Defendants how to

impersonate Charter; how to infringe upon the CHARTER, CHARTER SPECTRUM and

SPECTRUM family of marks; how to lure victims into providing Defendants with confidential

financial and other sensitive information; how to impersonate these victims in interactions with

Charter; and how to obtain and use fraudulent payment mechanisms in interactions with Charter

through the internet, phone, and/or other means.

       45.     Defendants then intentionally and knowingly committed these unlawful activities,

which caused harm to Charter and to Charter subscribers, and resulted in damage to Charter.

                        CHARTER’S INTELLECTUAL PROPERTY

       46.     CCH is the owner of federally registered service marks “CHARTER,”

“CHARTER SPECTRUM” and “SPECTRUM.” See Exhibit B.

       47.     CCH is also the owner of dozens of other federally registered marks and designs

for communications-related services that incorporate the SPECTRUM brand, such as

SPECTRUM TV, SPECTRUM INTERNET, and SPECTRUM BUSINESS. A list of registered

trademarks is attached as Exhibit C (collectively referred to herein as the SPECTRUM family of

marks).

       48.     CCO and other related Charter entities use the CHARTER, CHARTER

SPECTRUM, and SPECTRUM family of marks and designs with permission of CCH.

       49.     The CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks and




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designs are well known and are used across the United States.

       50.     Charter and its related entities have invested significant time, effort, and resources

in the development and promotion of their business and the CHARTER, CHARTER

SPECTRUM, and SPECTRUM family of marks throughout the United States.

       51.     Charter has developed substantial good will in the CHARTER, CHARTER

SPECTRUM, and SPECTRUM family of marks and has acquired rights, both by virtue of

federal trademark registrations and by common law rights in the CHARTER, CHARTER

SPECTRUM, and SPECTRUM family of marks.

       52.     Defendants’ actions, described above, have threatened and impaired the good will

and reputation of Charter and the services provided under the CHARTER SPECTRUM and

SPECTRUM name.

       53.     Defendants have intentionally and deceptively misappropriated and used the

CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks to defraud Charter and

Charter subscribers.

         CONSUMER CONFUSION AND RESULTING INJURY TO CHARTER

       54.     Defendants’ infringing use of the CHARTER, CHARTER SPECTRUM, and

SPECTRUM family of marks has caused and is likely to continue to cause consumer confusion

or mistake regarding the source of goods and/or services in the communications market and the

companies with which Charter chooses to associate.

       55.     Charter uses the CHARTER, CHARTER SPECTRUM, and SPECTRUM family

of marks for services related to the provision of communications products and services.

       56.     The CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks are

strong and have nationwide recognition.




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          57.   Charter uses the CHARTER, CHARTER SPECTRUM, and SPECTRUM family

of marks on its website, on TV commercials, in print ads, in radio ads, in internet ads, in direct

(written and verbal) communications with Charter subscribers, on hardware related to the

provision of services, and many other streams of commerce and marketplaces.

          58.   Defendants use “CHARTER SPECTRUM” and “SPECTRUM,” which are

identical to CCH’s registered marks.

          59.   Defendants use “CHARTER SPECTRUM” and “SPECTRUM” in relation to a

fraudulent scheme designed to steal money from Charter subscribers and defraud Charter and

Charter subscribers under the guise of assisting Charter subscribers to pay their Spectrum-

branded bills at a discount.

          60.   Defendants have infringed the CHARTER, CHARTER SPECTRUM, and

SPECTRUM family of marks in written and oral communications to Charter subscribers.

          61.   Defendants created a false association between Knowteq Solutions and Charter by

stating that Knowteq Solutions is authorized to work with Charter subscribers on Charter’s

behalf.

          62.   On information and belief, Defendants intended to create a false association

between Knowteq Solutions and Charter by stating that Knowteq Solutions is authorized to work

with Charter subscribers on Charter’s behalf.

          63.   Charter has never consented to Defendants using the CHARTER, CHARTER

SPECTRUM, and SPECTRUM family of marks.

          64.   Defendants’ use in commerce of the CHARTER, CHARTER SPECTRUM, and

SPECTRUM family of marks has caused Charter subscribers to be confused and to form a false

association between Knowteq Solutions and Charter.




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       65.     The false association created in the consumer’s mind is to Defendants’ benefit and

Defendants have willfully taken advantage of the false association to defraud Charter and

Charter subscribers.

       66.     Defendants’ infringement of the CHARTER, CHARTER SPECTRUM, and

SPECTRUM family of marks is the key to Defendants’ fraudulent scheme and the infringement

is designed to rely on Charter’s established good will in the CHARTER SPECTRUM and

SPECTRUM brands to gain victims’ trust.

       67.     Charter subscribers have actually been confused by Defendants’ infringing use of

the CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks.

       68.     Charter subscribers have fallen victim to Defendants’ intentional creation of a

false association between Charter and Knowteq Solutions.

       69.     Defendants are likely to continue to commit the acts complained of herein, and

unless restrained and enjoined, will continue to do so, thereby causing Charter irreparable harm.

       70.     Defendants’ continued use of the CHARTER, CHARTER SPECTRUM, and

SPECTRUM family of marks after notice from Charter of infringement, renders Defendants’

continued infringement intentional and willful.

                                 FIRST CLAIM FOR RELIEF

                        (Against Defendants For Common Law Fraud )

       71.     Charter specifically realleges and incorporates herein by reference each and every

allegation contained in Paragraphs 1 through 71 hereof.

       72.     Defendants’ fraudulent business scheme is detailed in Paragraphs 3-7 and 18-71.

       73.     Defendants made false and material representations and omissions to Charter,

including but not limited to: (i) stating that Defendants were Charter subscribers; (ii) using




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Charter subscribers’ account information to lure Charter into relying on this false representation;

(iii) purporting to make a payment on the impersonated Charter subscriber’s account; and (iv)

instead stating and utilizing false and fraudulent payment information to induce Charter to

provide Defendants with payment confirmation.

       74.     These material representations and omissions, as set forth above, were false.

       75.     Defendants further knowingly made these false representations with the intent to

mislead Charter into taking an action based on the misrepresentations.

       76.     Charter reasonably relied on the false representations that Defendants were

Charter subscribers, and further relied on Defendants’ representations that the payment methods

being provided to Charter were valid. As a result, Charter took the action Defendants intended,

and was injured as a result.

       77.     In furtherance of their scam, Defendants also made false representations and

omissions to Charter subscribers, specifically with the intent to defraud Charter and Charter

subscribers of payments that should have been made to Charter. These false representations and

omissions include, but are not limited to, the following: (i) stating that Knowteq Solutions was

associated with Charter; (ii) stating that Knowteq Solutions was authorized to interact with

Charter subscribers; (iii) stating that Knowteq Solutions would arrange payment of the balance

due on Charter subscribers’ accounts at a discount; and (iv) stating that the money Knowteq

Solutions took from the subscriber would be used to pay Charter.

       78.     These representations and omissions, as set forth above, were false. Charter never

authorized Defendants to make such statements or offers.

       79.     When Defendants made the representations, they knew them to be false, and said

representations were made by Defendants with the intent to deceive and to induce Charter




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subscribers to use Knowteq Solutions for payment services. Instead of using the subscriber’s

money to pay a Spectrum bill, Defendants intended to, and did, fraudulently keep that money for

themselves.

        80.     On information and belief, Ellzey, as the sole member, manager and director of

Knowteq Solutions, formed Knowteq Solutions for the sole purpose of engaging in fraud and

unfair competition, conspiring to engage in fraud and unfair competition, and other unlawful

activities for her direct personal benefit.

        81.     There is such unity of interest and ownership that the separate personalities of

Knowteq Solutions and Ellzey no longer exist, as the circumstances indicate that Knowteq

Solutions is merely a façade for the operations of Ellzey.

        82.     The circumstances detailed throughout this Complaint show that adherence to the

fiction of separate corporate existence would sanction a fraud and promote injustice, as Knowteq

Solutions has been used as part of an unfair device to achieve an inequitable result.

        83.     On information and belief, Ellzey, as the sole member, manager and director of

Knowteq Solutions has complete control of and directed Knowteq Solutions’ activities, has

directed those activities for the willful infringement of Charter’s marks and purposeful creation

of a false affiliation in the public’s mind between Knowteq Solutions and Charter and its related

entities, and should be held personally liable to Charter for Knowteq Solutions’ actions and

damages caused by such actions.

        84.     Ellzey is using Knowteq Solutions as a sham for perpetrating fraud. The

corporate veil should be pierced and Ellzey should be held personally liable to Charter for

Knowteq Solutions’ actions and for any damages caused by such actions.

        85.     As a direct and proximate result of the aforementioned fraudulent conduct,




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Defendants caused Charter to suffer the damages and injuries herein alleged.

        86.     Defendants’ conduct was outrageous due to their fraudulent intent and wanton

and willful disregard for the rights of Charter and Charter subscribers. Defendants’ actions in

defrauding Charter were intentional, wanton, willful, outrageous, deliberate, done with evil

motive, and in willful disregard and indifference to the interests and rights of Charter, thus

warranting an award of punitive damages in a fair and reasonable amount to be determined at

trial or by this Court.

        87.     Defendants’ actions entitle Charter to general and special damages for all of the

Defendants’ income derived from their past unlawful conduct to the full extent provided by law.

        88.     Charter has no adequate remedy at law for the continuing wrongful conduct.

Charter has been, and absent injunctive relief will continue to be, irreparably harmed by the

Defendants’ ongoing actions in perpetuating the above-described fraud.

                                SECOND CLAIM FOR RELIEF

                 (Against Defendants and John Does 1-5 For Civil Conspiracy)

        89.     Charter specifically realleges and incorporates herein by reference each and every

allegation contained in Paragraphs 1 through 89 hereof.

        90.     Defendants are not alone in their fraudulent smishing attacks on Charter and

Charter subscribers. Charter subscribers have notified Charter of nearly identical fraudulent

schemes perpetrated by other entities.

        91.     These nearly identical schemes are no coincidence. Rather, they are orchestrated

by unknown John Does 1-5, who, on information and belief, in and around the time Knowteq

Solutions was formed in March of 2021, instructed Defendants over the internet, phone, and/or

other means on setting up the fraudulent scheme through one or more of the following acts: (i)

the creation of an LLC or other similar entity for the fraudulent purposes described herein; (ii)


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the use of the CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks to carry

out the plan; (iii) the representations necessary to deceive Charter subscribers into remitting

confidential information to Defendants; (iv) impersonating Charter subscribers in interactions

with Charter; and/or (v) obtaining and using fraudulent payment mechanisms in interactions with

Charter.

       92.     Defendants and unknown John Does 1-5 have acted, and are acting, in concert to

commit the unlawful acts alleged herein, including fraud, infringement, and unfair competition,

as part of a common scheme.

       93.     Defendants and unknown John Does 1-5 each understood the objectives of the

scheme, accepted the objectives of the scheme, and agreed to do their part to further the scheme.

       94.     Defendants and unknown John Does 1-5 have agreed to commit the fraud,

infringement, and unfair competition alleged herein through one or more of the following acts

that have resulted in damage: (i) intentionally and deceptively misappropriating and using the

CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks; (ii) falsely

representing and continuing to represent that they are associated with Charter or its Spectrum

brand to both Charter and to Charter subscribers; (iii) soliciting, accepting, and retaining money

through the intentional and deceptive misappropriation and use of the CHARTER, CHARTER

SPECTRUM, and SPECTRUM family of marks and other misrepresentations to Charter and

Charter subscribers; (iv) impersonating Charter subscribers in interactions with Charter; and (v)

obtaining and using fraudulent payment mechanisms in interactions with Charter.

       95.     The conspiracy described above included Defendants and other John Does that

may be finally determined through discovery in this case.

       96.     The corporate veil should be pierced and Ellzey should be held personally liable




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to Charter for Knowteq Solutions’ actions and for any damages caused by such actions for the

reasons set forth in Paragraphs 3-7, 11-12 and 18-71.

         97.    Charter has been and continues to be harmed by Defendants and John Does 1-5’s

acts.

         98.    Defendants and John Does 1-5’s actions entitle Charter to general and special

damages for all of the Defendants and John Does 1-5’s income derived from their past unlawful

conduct to the full extent provided by law.

         99.    Defendants and John Does 1-5’s conduct was outrageous due to their fraudulent

intent and reckless indifference to the rights of Charter and Charter subscribers. Defendants and

John Does 1-5’s actions in defrauding Charter were intentional, wanton, willful, outrageous,

deliberate, done with evil motive, and in reckless disregard and indifference to the interests and

rights of Charter, thus warranting an award of punitive damages in a fair and reasonable amount

to be determined at trial or by this Court.

                                     THIRD CLAIM FOR RELIEF

 (Against Defendants For Infringement of Registered Trademarks in Violation of Section
                     32(1) of the Lanham Act, 15 U.S.C. § 1114(1))

         100.   Charter specifically realleges and incorporates herein by reference each and every

allegation contained in Paragraphs 1 through 100 hereof.

         101.   CCH is the owner of the federally registered service marks CHARTER,

CHARTER SPECTRUM, and SPECTRUM. See Exhibit B.

         102.   CCH is also the owner of dozens of other federally registered marks and designs

for communications-related services incorporating the SPECTRUM brand. A partial list

includes SPECTRUM TV, SPECTRUM INTERNET, and SPECTRUM BUSINESS. See

Exhibit C.



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       103.     CCO and other related Charter entities use the CHARTER, CHARTER

SPECTRUM, and SPECTRUM family of marks with permission from CCH.

       104.    The CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks are

valid and enforceable.

       105.    Charter and its related entities use the CHARTER, CHARTER SPECTRUM, and

SPECTRUM family of marks in interstate commerce.

       106.    The acts of Defendants alleged herein constitute the use in commerce, without the

consent of Charter, of the CHARTER, CHARTER SPECTRUM, and SPECTRUM family of

marks in connection with the offering of services related to the provision of communication

services, which use is likely to cause confusion or mistake, or to deceive consumers and

therefore infringe Charter’s rights in one or more of its trademarks, in violation of Section 32(1)

of the Lanham Act, 15 U.S.C. § 1114(1).

       107.    Defendants’ use of the CHARTER, CHARTER SPECTRUM, and SPECTRUM

family of marks was willful, intentional, and done with the knowledge that said use was

infringing and unauthorized.

       108.     The corporate veil should be pierced and Ellzey should be held personally liable

to Charter for Knowteq Solutions’ actions and for any damages caused by such actions for the

reasons set forth in Paragraphs 3-7, 11-12 and 18-71.

       109.    Charter has been and continues to be harmed by Defendants’ acts.

       110.    Defendants’ actions entitle Charter to damages for all of the Defendants’ income

derived from their past unlawful conduct, trebled, to the full extent provided under Sections

35(a) and 35(b) of the Lanham Act, 15 U.S.C. § 1117.

       111.    Charter has no adequate remedy at law for the foregoing wrongful conduct.




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Charter has been, and absent injunctive relief will continue to be, irreparably harmed by the

Defendants’ actions.

                                FOURTH CLAIM FOR RELIEF

  (Against Defendants For False Association and Trademark Infringement in Violation of
            Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A))

       112.    Charter specifically realleges and incorporates herein by reference each and every

allegation contained in Paragraphs 1 through 112 hereof.

       113.    The CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks and

designs are well known and are used across the United States and serve as trademarks for

Charter.

       114.    Charter and its related entities have invested significant time, effort, and resources

in the development and promotion of their business and the CHARTER, CHARTER

SPECTRUM, and SPECTRUM family of marks throughout the United States.

       115.    Charter and its related entities have developed substantial good will in the

CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks and has acquired

rights, both by virtue of federal trademark registrations and by common law rights in the

CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks.

       116.    The CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks are

valid and enforceable.

       117.    The acts of Defendants alleged herein constitute the use in interstate commerce of

a word, term, name, symbol, or device, or any combination thereof, or false designation of

origin, in connection with the sale, or offering for sale, of goods in violation of section

43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A). These acts are likely to cause

confusion, or to cause mistake, or to deceive as to the affiliation, connection, or association of



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Defendants with Charter, or as to the origin, sponsorship, or approval of Defendants’ services by

Charter.

        118.    Defendants’ use of the CHARTER, CHARTER SPECTRUM, and SPECTRUM

family of marks constitutes trademark infringement.

        119.    Defendants’ use of the CHARTER, CHARTER SPECTRUM, and SPECTRUM

family of marks constitutes unfair competition through the creation of a false association.

        120.    Defendants used the CHARTER, CHARTER SPECTRUM, and SPECTRUM

family of marks intending to create an association between itself and Charter (or Charter’s

related entities).

        121.    Defendants’ use of the CHARTER, CHARTER SPECTRUM, and SPECTRUM

family of marks is willful, intentional, and done with the knowledge that said use is infringing

and unauthorized.

        122.    Defendants’ use of the marks has led to actual confusion of Charter subscribers.

        123.    The corporate veil should be pierced and Ellzey should be held personally liable

to Charter for Knowteq Solutions’ actions and for any damages caused by such actions for the

reasons set forth in Paragraphs 3-7, 11-12 and 18-71.

        124.    Charter has been and continues to be harmed by Defendants’ acts.

        125.    Defendants’ acts entitle Charter to damages for all of the Defendants’ profits

derived from their past unlawful conduct, trebled, to the full extent provided under Sections

35(a) and 35(b) of the Lanham Act, 15 U.S.C. § 1117.

        126.    Charter has no adequate remedy at law for the foregoing wrongful conduct.

Charter has been, and absent injunctive relief will continue to be, irreparably harmed by the

Defendants’ actions.




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                                  FIFTH CLAIM FOR RELIEF

                (Against Defendants For Texas Common Law Unfair Competition)

         127.    Charter specifically realleges and incorporates herein by reference each and every

allegation contained in Paragraphs 1 through 127 hereof.

         128.    Charter has developed significant rights in the CHARTER, CHARTER

SPECTRUM, and SPECTRUM family of marks.

         129.    Defendants’ acts, as described in Paragraphs 3-7 and 18-71, have resulted in the

unauthorized use of the CHARTER, CHARTER SPECTRUM, and SPECTRUM family of

marks, and resulted in actual and potential consumer confusion as to the association of Knowteq

Solutions with Charter.

         130.    Defendants’ conduct constitutes unfair competition under the common law and

shows an intent to deceive the consumer.

         131.    The corporate veil should be pierced and Ellzey should be held personally liable

to Charter for Knowteq Solutions’ actions and for any damages caused by such actions for the

reasons set forth in Paragraphs 3-7, 11-12 and 18-71.

         132.    Defendants’ actions entitle Charter to general and special damages, including, but

not limited to, damages in the amount of all of Defendants’ income derived from their past

unlawful conduct, and for all other damages provided for by the common law of the State of

Texas.

         133.    Charter has no adequate remedy at law for the foregoing wrongful conduct.

Charter has been, and absent injunctive relief will continue to be, irreparably harmed by

Defendants’ actions.

                                  SIXTH CLAIM FOR RELIEF

                (Against Defendants For Texas Common Law Unjust Enrichment)


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        134.    Charter specifically realleges and incorporates herein by reference each and every

allegation contained in Paragraphs 1 through 134 hereof.

        135.    CCO and CCH have developed significant rights in the CHARTER, CHARTER

SPECTRUM, and SPECTRUM family of marks, as discussed in Paragraphs 47-52 above.

        136.    Defendants’ acts, as described in Paragraphs 3-7 and 18-71, have resulted in the

unauthorized use of the CHARTER, CHARTER SPECTRUM, and SPECTRUM family of

marks, and resulted in actual and potential consumer confusion as to the association of Knowteq

Solutions with Charter.

        137.    Defendants’ use of the CHARTER, CHARTER SPECTRUM, and SPECTRUM

family of marks constitutes trademark infringement and unfair competition through the creation

of a false association.

        138.    Defendants used the CHARTER, CHARTER SPECTRUM, and SPECTRUM

family of marks intending to create an association between itself and Charter (or Charter’s

related entities).

        139.    Defendants’ use of the CHARTER, CHARTER SPECTRUM, and SPECTRUM

family of marks is willful, intentional, and done with the knowledge that said use is infringing

and unauthorized.

        140.    Defendants took undue advantage of Charter subscribers through fraudulent

misrepresentations that Knowteq Solutions was associated with Charter.

        141.    Defendants have profited from their unlawful actions and have been unjustly

enriched to the detriment of Charter and Charter subscribers as a result of the fraudulent activity

described above in Paragraphs 3-7 and 18-71.

        142.    The corporate veil should be pierced and Ellzey should be held personally liable



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to Charter for Knowteq Solutions’ actions and for any damages caused by such actions for the

reasons set forth in Paragraphs 3-7, 11-12 and 18-71.

       143.    Defendants’ actions entitle Charter to general and special damages, including, but

not limited to, damages in the amount of all of Defendants’ income derived from their past

unlawful conduct to the full extent provided for by the common law of the State of Texas.

       144.    Charter demands an accounting of Knowteq Solutions’ profits to disgorge

Defendants of their unjust enrichment and to deter Defendants from future infringement of

Charter’s intellectual property.

       145.    Charter has no adequate remedy at law for the foregoing wrongful conduct.

Charter has been, and absent injunctive relief will continue to be, irreparably harmed by

Defendants’ actions.

                               SEVENTH CLAIM FOR RELIEF

                        (Against Defendants For Exemplary Damages)

       146.    Charter specifically realleges and incorporates herein by reference each and every

allegation contained in Paragraphs 1 through 146 hereof.

       147.    Pursuant to Tex. Civ. Prac. & Rem. Code § 41.003(a)(1), (2), and (3), exemplary

damages may be awarded when the injury or harm to which the claimant seeks recovery results

from malice, fraud, or gross negligence. Charter seeks exemplary damages against Defendants in

an amount to be determined, considering among other things, the degree of culpability, the extent

to which the conduct offends a public sense of justice and propriety, the costs and inconvenience

incurred by Charter in prosecuting this action, and the net worth of Defendants.

       148.    More specifically, Defendants engaged in an intentional pattern of behavior to

infringe, misappropriate, and use Charter’s CHARTER, CHARTER SPECTRUM, and

SPECTRUM family of marks in an effort to defraud Charter and Charter subscribers. Therefore,


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Charter seeks an award of exemplary damages sufficient to punish Defendants and deter such

conduct in the future.

       149.    Additionally, pursuant to Tex. Civ. Prac & Rem. Cod § 41.008(13), the exemplary

damage limitations are not applicable.

                                 EIGHTH CLAIM FOR RELIEF

                             (Against Defendants For Attorneys’ Fees)

       150.    Charter specifically realleges and incorporates herein by reference each and every

allegation contained in Paragraphs 1 through 150 hereof.

       151.    As a result of Defendants’ fraud, civil conspiracy, trademark infringement and

unfair competition, Charter was compelled to employ Thompson Coburn LLP to represent it.

       152.    Because this suit involves the culpable conduct of Defendants, attorneys’ fees and

costs should be awarded to Charter under 15 U.S.C. § 1117(a).

                                    JURY TRIAL DEMANDED

       Charter hereby demands a jury on all jury-triable issues.

                                      PRAYER FOR RELIEF

       WHEREFORE, Charter prays for judgment as follows:

       A.      For judgment that:

               (i)       Defendants have engaged in fraud in violation of the common law of the

                         State of Texas;

               (ii)      Defendants have engaged in a civil conspiracy in violation of the common

                         law of the State of Texas;

               (iii)     Defendants violated Section 32 of the Lanham Act, 15 U.S.C. § 1114;

               (iv)      Defendants violated Section 43(a) of the Lanham Act, 15 U.S.C.




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                       § 1125(a);

               (v)     Defendants’ violations of Sections 32 and 43(a) of the Lanham Act were

                       willful, intentional, and done with knowledge that the use was

                       unauthorized;

               (vi)    Defendants have engaged in unfair competition in violation of the

                       common law of the State of Texas;

               (vii)   Defendants have been unjustly enriched by their unlawful conduct in

                       violation of the common law of the State of Texas;

               (viii) A finding that Charter is entitled to exemplary damages under Tex. Civ.

                       Prac. & Rem. Code § 41.003(a);

               (ix)    A finding that Charter is entitled to treble damages under Section 35(b) of

                       the Lanham Act, 15 U.S.C. § 1117; and

               (x)     A finding piercing the corporate veil to hold Ellzey personally responsible

                       for Knowteq Solutions’ actions and personally liable for Knowteq

                       Solutions’ monetary judgment.

       B.      For an injunction restraining and enjoining the Defendants and their divisions,

subsidiaries, officers, agents, employees, attorneys, and all those persons in active concert or

participation with them who receive actual notice of the order by personal service or otherwise,

from (i) making any communication, either written, verbal, or by text message infringing the

CHARTER, CHARTER SPECTRUM, and SPECTRUM family of marks; or (ii) making any

communication, either written, verbal, or by text message stating or implying that Knowteq

Solutions is associated with or authorized by Charter, or assisting, aiding or abetting any other

person or entity in doing so.




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       C.      For an order requiring (i) that the Defendants account for and pay over to Charter

all of the Defendants’ profits, derived from their unlawful conduct and for damages as provided

for by Section 35(a) of the Lanham Act, 15 U.S.C. § 1117; (ii) to the extent not included in section

(i) of this prayer, for all gains or monetary benefits unjustly received by Defendants as a result of

their conduct to the full extent provided for by the common law of the State of Texas; and (iii)

awarding Charter direct and indirect damages to the full extent provided for by the common law

of the State of Texas; and

       D.      For costs of suit as provided for by Section 35(a) of the Lanham Act, 15 U.S.C.

§ 1117 , attorneys’ fees, and such other and further relief as the Court shall deem appropriate.




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DATED: October 5, 2022
                                Respectfully submitted by:

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